                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

In re:                                                     )    Chapter 11
                                                           )
Squirrels Research Labs LLC, et al.,1                      )    Case No. 21-61491
                                                           )    (Request for Joint Administration Pending)
                           Debtors.                        )
                                                           )    Judge Russ Kendig


     MOTION OF DEBTOR AND DEBTOR-IN-POSSESSION THE MIDWEST DATA
     COMPANY LLC FOR A FINAL ORDER: (A) PROHIBITING UTILITIES FROM
          ALTERING, REFUSING OR DISCONTINUING SERVICES TO, OR
     DISCRIMINATING AGAINST, THE DEBTOR ON ACCOUNT OF PREPETITION
      INVOICES; (B) DETERMINING THAT THE UTILITIES ARE ADEQUATELY
    ASSURED OF FUTURE PAYMENT; AND (C) ESTABLISHING PROCEDURES FOR
            DETERMINING REQUESTS FOR ADDITIONAL ASSURANCE


         The Midwest Data Company LLC (“MWDC” or the “Debtor”), a debtor and debtor-in-

possession in the above-captioned Chapter 11 case, hereby submits this motion (the “Motion”),

pursuant to Section 366 of Title 11 of the United States Code (the “Bankruptcy Code”), for entry

of a final order: (a) prohibiting any utility from altering, refusing, or discontinuing services to, or

discriminating against, the Debtor on account of prepetition invoices; (b) determining that all

utilities are adequately assured of future payment; and (c) approving procedures for requests for

additional assurance.

         In support of this Motion, the Debtor states as follows:




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC
(1213), case no. 21-61492.




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                                     JURISDICTION AND VENUE

        1.         The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334,

and by virtue of the general order of reference of the United States District Court for the Northern

District of Ohio entered April 4, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)

in which the Court may enter a final order.

        2.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409 and Local

Bankruptcy Rules.

                                               BACKGROUND

        3.         On November 23, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under subchapter v of Chapter 11 of the Bankruptcy Code.

        4.         The Debtor is operating its business as a debtor-in-possession pursuant to Section

1184 of the Bankruptcy Code. No trustee or examiner has been appointed.

        5.         The facts and circumstances supporting this Motion are set forth in the Declaration

of David Stanfill (the “First Day Declaration”)2 filed contemporaneously with this Motion.

        6.         The Debtor currently uses electricity provided by the utility company (the “Utility

Company”) listed on the attached Exhibit A (the “Utility Service List”).

        7.         Uninterrupted utility service is essential to the Debtor’s ongoing operations and,

therefore, to the success of the Debtor’s reorganization. As described in the First Day Declaration,

the Debtor’s business includes providing hosting services for cryptocurrency mining machines.

The Debtor cannot maintain these services or operate its business, as necessary, without continuous

utility service.




2
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the First Day
Declaration.


                                                         2

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                                         BASIS FOR RELIEF

                                  The Adequate Assurance Deposit

        8.      Section 366(c)(2) of the Bankruptcy Code prohibits a utility from altering, refusing,

or discontinuing a Chapter 11 debtor’s utility service if it receives adequate assurance of payment

within 30 days of the commencement of the debtor’s Chapter 11 case. 11 U.S.C. § 366(c)(2).

Pursuant to Section 366(c)(1)(A), “assurance of payment” includes, among other things, a cash

deposit. 11 U.S.C. § 366(c)(1)(A)(i). The Debtor proposes to provide a cash deposit in an amount

equal to two weeks service, based on the average usage over the past few months of usage of the

Debtor to each Utility Company that requests a deposit (each an “Adequate Assurance Deposit”),

within 14 days of receiving the written request, and provided that: (a) such request is made in

writing no later than 7 days after the service of the Order (the “Request Deadline”); (b) such

requesting Utility Company does not already hold a deposit equal to or greater than the Adequate

Assurance Deposit (which existing deposit shall be deemed to be the Adequate Assurance Deposit

for purposes of this Motion); and (c) such requesting Utility Company is not currently paid in

advance for its services. Further, a Utility Company’s request for, and acceptance of, an Adequate

Assurance Deposit, shall be deemed an acknowledgement and admission from the Utility

Company that the form of adequate assurance is satisfactory to it, within the meaning of Section

366 of the Bankruptcy Code.3 Any Utility Company that does not request an Adequate Assurance

Deposit by the Request Deadline shall be deemed to have adequate assurance that is satisfactory

to it, within the meaning of Section 366 of the Bankruptcy Code.




3
 The Debtor further requests that any Adequate Assurance Deposit requested by, and provided to, any Utility
Company pursuant to the procedures described above be returned to the Debtor at the conclusion of these
Chapter 11 cases, if not returned or applied sooner.




                                                      3

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       9.      The Debtor’s electricity provider, AEP Ohio, presently holds a security deposit in

the amount of $13,635.

       10.     The Debtor submits that the availability of the Adequate Assurance Deposit, if

timely requested, in conjunction with the Debtor’s demonstrated ability to pay for future utility

services in the ordinary course of business through the use of debtor-in-possession financing,

constitutes sufficient adequate assurance of future payment to each Utility Company to satisfy the

requirements of Section 366 of the Bankruptcy Code. Nonetheless, if any Utility Company

believes additional assurance is required, they may request such assurance pursuant to the

procedures described below.

                              The Adequate Assurance Procedures

       11.     To address the right of any Utility Company under Section 366(c)(2) of the

Bankruptcy Code to seek adequate assurance satisfactory to it, the Debtor has enacted the

following procedures (the “Adequate Assurance Procedures”):

               (a)     Any Utility Company desiring assurance of future payment for utility
                       service beyond the Proposed Adequate Assurance (as that term is defined
                       in the Order) must serve a written request (an “Additional Assurance
                       Request”) so that it is received by the Debtor by the Request Deadline at the
                       following addresses or email: Brouse McDowell, LPA, 388 South Main
                       Street, Suite 500, Akron, OH 44311 (Attn: Julie K. Zurn) or
                       jzurn@brouse.com.

               (b)     Any Additional Assurance Request must: (i) be made in writing; (ii)
                       describe any deposits, prepayments or other security currently held by the
                       requesting Utility Company; and (iii) explain why the requesting Utility
                       Company believes the Proposed Adequate Assurance is not sufficient
                       adequate assurance of future payment.

               (c)     Upon the Debtor’s receipt of an Additional Assurance Request at the
                       addresses set forth above, the Debtor shall have 7 days from the receipt of
                       such Additional Assurance Request (the “Resolution Period”), to negotiate
                       with the requesting Utility Company to resolve its Additional Assurance
                       Request. The Resolution Period may be extended by agreement of the
                       Debtor and the applicable Utility Company.



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                  (d)      The Debtor, in its discretion, may resolve any Additional Assurance
                           Request by mutual agreement with the requesting Utility Company and
                           without further order of the Court, and may, in connection with any such
                           resolution, in its discretion, provide the requesting Utility Company with
                           additional adequate assurance of future payment in a way satisfactory to the
                           Utility Company, including, but not limited to, cash deposits, prepayments
                           and/or other forms of security, if the Debtor believes such additional
                           assurance is reasonable.

                  (e)      If the Debtor determines that an Additional Assurance Request is not
                           reasonable, and is not able to resolve such request during the Resolution
                           Period, the Debtor, during or immediately after the Resolution Period, will
                           request a hearing before this Court to determine the adequacy of assurances
                           of payment made to the requesting Utility Company (the “Determination
                           Hearing”), pursuant to Section 366(c)(3)(A) of the Bankruptcy Code. 4

                  (f)      Pending the resolution of the Additional Assurance Request at the hearing,
                           the Utility Company making such request shall be restrained from
                           discontinuing, altering or refusing service to the Debtor on account of
                           unpaid charges for prepetition services or on account of any objections to
                           the Proposed Adequate Assurance.

                  (g)      Any Utility Company that does not comply with the Adequate Assurance
                           Procedures is deemed to find the Proposed Adequate Assurance satisfactory
                           to it and is forbidden from discontinuing, altering or refusing service on
                           account of any unpaid prepetition charges, or requiring additional assurance
                           of payment (other than the Proposed Adequate Assurance).

                            Subsequent Modifications of Utility Service List

         12.      It is possible that, despite the Debtor’s best efforts, certain Utility Companies have

not yet been identified by the Debtor or included on the Utility Service List. To the extent that the

Debtor identifies additional Utility Companies, the Debtor will file amendments to the Utility

Service List, and shall serve copies of the Order (when and if entered) on such newly-identified

Utility Companies. The Debtor requests that the Orders be binding on all Utility Companies,




4
 Section 366(c)(3)(A) provides that “[o]n request of a party in interest and after notice and a hearing, the court may
order modification of the amount of an assurance of payment . . . .” 11 U.S.C. § 366(c)(3)(A).


                                                          5

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subject to its rights to the Proposed Adequate Assurance and to request additional adequate

assurance, regardless of when any given Utility Company was added to the Utility Service List.

       13.     The Debtor submits that its proposal to provide the Utility Companies with cash

deposits and procedures pursuant to which the Utility Companies can seek greater or different

security, complemented by the Debtor’s ability to pay for postpetition service through access to

the debtor-in-possession financing, significantly alleviates any concern of nonpayment on the part

of the Utility Companies, and is therefore adequate.

       14.     Relief similar to the relief requested herein has been granted by courts in other

Chapter 11 cases. See, e.g., In re Davey Kent, Inc., No. 21-51022 (Bankr. N.D. Ohio July 2, 2021);

In re G.D.S. Express, Inc., No. 19-53034 (Bankr. N.D. Ohio Dec. 27, 2019); In re Northeastern

Real Properties, Ltd, No. 09-62467 (Bankr. ND Ohio June 24, 2009); In re Dana Corp., No. 06-

10354 (Bankr. S.D.N.Y. Mar. 3, 2006); In re Musicland Holding Corp., No. 06-10064 (Bankr.

S.D.N.Y. Feb. 2, 2006); In re Calpine Corp., No. 05-60200 (Bankr. S.D.N.Y. Jan. 18, 2006); In

re Refco, Inc., Co., No. 05-60006 (Bankr. S.D.N.Y. Dec. 9, 2005).

                                            NOTICE

       15.     Notice of this Motion has been given to the following parties or, in lieu thereof, to

their counsel, if known: (a) the United States Trustee; (b) the Debtors’ twenty (20) largest

unsecured creditors as reflected on their respective petitions; (c) the Debtors’ secured lender(s);

(d) the Utility Companies identified on Exhibit A; (e) Instantiation, LLC and (f) all parties that

have filed a notice of appearance and request for service of papers in this case under Rule 2002 of

the Bankruptcy Rules. In light of the nature of the relief requested herein, the Debtor submits that

no other or further notice is required.




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         16.    Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, the Debtor requests that the relief sought by this Motion be immediately

effective and enforceable upon entry of the order requested hereby.

         17.    No previous motion for the relief sought herein has been made to this or any other

Court.

                                         CONCLUSION

         WHEREFORE, the Debtor respectfully requests that this Court enter an order, substantially

in the form attached hereto as Exhibit B, granting the Motion and finding: (a) that the security

deposits as proposed herein constitute adequate assurance of payment; (b) that any Utility

Company that does not provide a written request for additional adequate assurance or otherwise

object to the within Motion be deemed to have accepted the adequate assurance proposed by

Debtor; and (c) such other or further relief as is just and proper under the circumstances.



Date: November 23, 2021                       Respectfully submitted,

                                              /s/ Julie K. Zurn
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